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Correction officer viciously slashed at Rikers Island released from
hospital, attends alleged attackers’ arraignment

BY CHELSIA ROSE MARCIUS =THOMAS TRACY
NEW YORK DAILY NEWS = Updated: Friclay, November 6, 2015, 11:32 PM

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The city correction officer who suffered a vicious slashing at Rikers Island left the hospital Friday with a clear destination In mind — the arraignment of two of the men charged with
attacking him.

Correction Officer Raymond Calderon, who needed 26 stitches to close the wounds he suffered after the Thursday afternoon attack, was among over two dozen officers who cheered
as the two gang members turned inmates were formally charged in Bronx Criminal Court.

The Injured officer blended in with the group as Darnell Green, 19, and Willlam Whitfleld, 18, were ordered held on $500,000 ball in Bronx Criminal Court.

The drama unfolded as the clty jail was locked down all day, as the Correction Department investigated the attack. Two other suspects, Joseph Ordonez, 19, and Dave Johnson, 18,
were awaiting arralgnment Friday.

 

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A source said Whitfield and Green = who has been arrested twice in the last year for assaulting correction officers = had “absolutely no history” with Calderon.

“This appears to be a coordinated attack, but why this guard was picked is a mystery,” the source said,

Calderon, 31, was monitoring the cells at the George Motchan Detention Center Thursday when Green put him ina chokehold about 5:50 pam, according to court papers. As
Calderon strugeled to breathe, Whitfield approached with a sharp object. Calderon kicked at Whitfield, causing both himsell’and Green to reel backward onto the floor, but

Whitfield continued to advance, slashing Calderon across the face and armas the guard desperately tied to defend himself.

 

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The three-year Department of Correction veteran suffered cuts to his arm and a jagged gash across the side of his face that that started at his forehead and continued down his
cheek fo his car,

The attack came as the Department of Correction is about to institute a new federally mandated usc-ol- force policy in which guards will be banned from hitting inmates in the face
and encouraged lo talk to conibative inmates before using physical force,

Norman Seabrook, president of the Correction Officers’ Benevolent Association, said the reforms will lead to more violence like the one that befell Calderon,

“At will undoubtedly raise the level of danger faced by the hardworking men and women who patrol city jails,” Seabrook said.

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